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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
ANTHONY PERRY                       )
                                     )
                  Plaintiff,         )
                                     )
v.                                   )    Case No. 17-cv-1932 (TSC/GMH)
                                     )
WILBUR ROSS                         )
                                     )
                  Defendant.        )
____________________________________)

                              MEDIATION STANDING ORDER

       This matter has been referred to the undersigned for the purpose of mediation.

Accordingly, it is hereby

       ORDERED that counsel for all parties involved in the mediation shall confer regarding

dates for a settlement conference. After the parties have conferred, counsel for all parties shall

inform the undersigned, via email to the undersigned’s law clerk, identified below, of three (3)

dates within the mediation referral period which are acceptable to all parties involved. The

undersigned will then select an appropriate date and set the conference on the Court’s docket. If

the parties fail to apprise the undersigned of their desired settlement conference dates within three

(3) business days of this Order, the undersigned shall set the conference unilaterally. It is further

       ORDERED that the conference shall be attended by an authorized representative of each

party involved, together with trial counsel for each party. An insured party need not attend unless

the settlement decision will be made in part by the insured. When the settlement decision will be

made in whole or in part by an insurer, the insurer shall send a representative in person with full

and complete authority to make settlement decisions unless an exception is requested and granted
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by the undersigned for good cause shown. A corporate party shall send a representative with full

and complete authority to bind the company unless an exception is requested and granted by the

undersigned for good cause shown. A governmental entity shall send a representative authorized

to act on its behalf. It is further

        ORDERED that the parties shall each provide to the undersigned, ex parte, a short and

confidential mediation statement by close of business seven (7) days prior to mediation. The

mediation statement shall not become a part of the file in the case but shall be for the exclusive

use of the undersigned in preparing for and conducting the settlement conference. The mediation

statement should be sent via email to the undersigned’s law clerk, identified below. In these

statements, the parties shall each address:

        (a)     the major legal and factual issues in the case;

        (b)     a history of previous settlement negotiations, if any;

        (c)     the potential monetary exposure of any applicable damages and/or attorney’s fees

                claims;

        (d)     the party’s ideas on how the case could be resolved at this juncture;

        (e)     a present settlement proposal; and

        (f)     any impediments to settlement that the party perceives.

If there are any key documents that the undersigned should review prior to the settlement

conference, please attach them. The mediation statements should not be lengthy, but should

contain enough information to be useful to the undersigned in analyzing the factual and legal issues

in the case. The parties are directed to be candid in their mediation statements. It is further

        ORDERED that in the event that a participant requires sign language interpreting during

mediation, the parties shall notify the Court of that request at least three weeks prior to the



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mediation. If the parties require any other language interpretation or translation services, they are

responsible for providing it themselves.

       The parties are further advised of the following:

       1.       The undersigned sets settlement conferences at 10:00 a.m. on any weekday.

However, during the undersigned’s criminal duty months (February, May, August, and

November), the undersigned’s availability is more limited. If any party will be traveling to the

District of Columbia for the mediation, no return travel plans should be made on the day of the

mediation.

       2.       The settlement conference will take place in Courtroom 6 within the E. Barrett

Prettyman United States Courthouse located at 333 Constitution Avenue N.W., Washington, D.C.

20001. The nearest Metro stop is Judiciary Square on the Red Line.

       SO ORDERED.

                                                                              Digitally signed by G. Michael
                                                                              Harvey
Date: December 11, 2017                               ___________________________________
                                                                              Date: 2017.12.11 11:54:50 -05'00'

                                                      G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE

Assigned Law Clerk:
Meghan Claire Hammond
202-354-3135
meghan_hammond@dcd.uscourts.gov




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